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February 28, 2025



Honorable Judge Dale E. Ho
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re:       Motion for Leave to File Amicus Brief in United States v. Adams (1:24-cr-00556-DEH)


Dear Judge Ho,

Undersigned counsel represent a group of former federal district court judges.1 They respectfully
request leave to submit a brief, attached as Exhibit 1, as amici curiae to provide their collective
perspective on the pending motion to dismiss the indictment against Mayor Eric Adams.2

Amici curiae are former federal jurists from across the nation, appointed by administrations of
both parties, whose common interest arises from their service on district courts and their abiding
dedication to the integrity and independence of those courts. Because the prosecution and
defense in this case have effectively joined sides, the judiciary has “institutional interests that the
parties cannot be expected to protect.” Commodity Futures Trading Comm’n v. Schor, 478 U.S.
833, 851 (1986). Amici, therefore, respectfully seek leave to submit their brief in support of their
interest in the “institutional integrity of the Judicial Branch.” Id.

The circumstances of the dismissal appear to indicate that it is a quid pro quo in exchange for
Mayor Adams’s promise to comply with the administration’s immigration objectives. Worse, the
Justice Department appears to seek to hold the threat of future prosecution over Mayor Adams’s
head to maintain the pressure on him. From the perspective of amici, if the Court finds an

1
 Amici are: Hon. Andre Davis (Ret.); Hon. Nancy Gertner (Ret.); Andrew Guilford (Ret.); Hon.
Thelton E. Henderson (Ret.); Hon. Richard J. Holwell (Ret.); Hon. D. Lowell Jensen (Ret.);
Hon. George H. King (Ret.); Hon. A. Howard Matz (Ret.); Hon. Stephen M. Orlofsky (Ret.);
Hon. Shira A. Scheindlin (Ret.); Hon. Fern Smith (Ret.); Hon. Thomas I. Vanaskie (Ret.); Hon.
T. John Ward (Ret.); and Hon. Jeremy Fogel (Ret.).
2
 Amici confirm that no counsel for a party authored this brief in whole or in part and that no
person other than amici or their counsel made any contribution intended to fund the preparation
or submission of this brief.




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improper quid pro quo, then the motion should be denied. The Court should not be used as the
fulcrum for the administration’s leverage against Mayor Adams. The Court may conduct further
factual inquiry and may appoint a special prosecutor to advance the interests of justice if the
Justice Department refuses to do so.

The Court should grant amici’s request for leave to file their proposed brief because the brief
“could prove helpful to the Court in shedding light on those aspects of the case that the
immediate parties may not [be] best situated to address.” Weininger v. Castro, 418 F. Supp. 2d
553, 555 (S.D.N.Y. 2006). As former members of the bench, amici offer a unique perspective
and “insights not available from the parties.” Lehman XS Trust, Series 2006-GP2 v. Greenpoint
Mortg. Funding, Inc., 2014 WL 265784, at *2 (S.D.N.Y. Jan. 23, 2014). Amici “have relevant
expertise and a stated concern in [the] case” which may aid the Court in reaching its decision.
District of Columbia v. Potomac Elec. Power Co., 826 F. Supp. 2d 227, 237 (D.D.C. 2011).
Amici are serving the “primary role of [an] amicus,” which is to “assist the Court in reaching the
right decision in a case affected with the interest of the general public.” See Russell v. Bd. of
Plumbing Exam’rs of Cnty. of Westchester, 74 F. Supp. 2d 349, 351 (S.D.N.Y. 1999), aff’d, 1 F.
App’x 38 (2d Cir. 2001).

For these reasons, the undersigned respectfully requests the Court grant this motion and consider
the concurrently filed brief.

Sincerely,

/s/ Robert A. Van Nest
Robert A. Van Nest (pro hac vice pending)
Dan Jackson (pro hac vice pending)
Kelly S. Kaufman (pro hac vice pending)
Elizabeth A. Heckmann (pro hac vice pending)

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Cc: All counsel of record (via ECF)




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